     Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 1 of 19



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DONNA PARRIS                                       :
v.                                                 :     CIV. NO. 10-CV-01128 (WWE)
CHARLES PAPPAS ET AL.                              :     May 24, 2016


 DEFENDANT’S OBJECTION TO RECOMMENDED ORDER OF CONTEMPT

       The defendant, Mr. Charles Pappas, submits the following objection to the

Court’s (Fitzsimmons, MJ) Order of February 26, 2016, recommending that Mr. Pappas

be held in civil contempt and sanctioned accordingly. As outlined below, through his

previous actions and through the disclosures accompanying this submission Mr. is

complying to the best of his ability with the terms of the Court’s Order of January 19,

2016. Because civil contempt is coercive and remedial in nature, it is not appropriate at

this point to impose contempt sanctions in light of Mr. Pappas’ present actions and

anticipated continued compliance.

                                   LEGAL STANDARD

       As set forth in the February 26, 2016, Order, the Court has recommended that Mr.

Pappas be held in civil contempt. “The hallmark of civil contempt is that the sanction

imposed is only contingent and coercive.” Int'l Bus. Machines Corp. v. United States, 493

F.2d 112, 115 (2d Cir. 1973). The coercive sanction of civil contempt, moreover, “has a

remedial purpose—compelling obedience to an order of the court for the purpose of

enforcing the other party's rights, or obtaining other relief for the opposing party.” Id. In

imposing a civil contempt sanction, the “court must exercise (t)he least possible power

adequate to the end proposed.” Shillitani v. United States, 384 U.S. 364, 371 (1966).


                                              1
    Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 2 of 19



       A civil contempt order should not issue “when it appears that there is at that time

no wilful disobedience but only an incapacity to comply.” Maggio v. Zeitz, 333 U.S. 56,

72-73 (1948)(collecting cases); accord Armstrong v. Guccione, 470 F.3d 89, 101 (2d Cir.

2006). As the Court in Maggio explained, “to jail one for a contempt for omitting an act

he is powerless to perform would reverse this principle [that civil contempt is coercive]

and make the proceeding purely punitive, to describe it charitably. At the same time, it

would add nothing to the [other party].” Id. At 72. See also Soobzokov v. CBS,

Quadrangle/New York Times Book Co., 642 F.2d 28, 31 (2d Cir. 1981) (“When it

becomes obvious that sanctions are not going to compel compliance, they lose their

remedial characteristics and take on more of the nature of punishment”).

     MR. PAPPAS HAS COMPLIED, AS HE IS ABLE, WITH THE COURT’S
                       JANUARY 19th ORDER.

       Mr. Pappas’ actions subsequent to the Court’s recommendation that he be held in

contempt demonstrate compliance with the Court’s orders. On February 29, 2016, the

Court (Fitzsimmons, MJ) issued a capias order for the arrest and presentment of Mr.

Pappas on March 9, 2016. Upon receiving actual notice of the order from counsel, Mr.

Pappas turned himself in to the custody of the United States Marshal’s service on the

morning of March 9. Since that date, Mr. Pappas has voluntarily cooperated with efforts

to liquidate his ownership of the Normandies Park property and to move towards a

resolution of this matter. As the letter attached as Exhibit 1 indicates, Mr. Pappas has

been working with a realtor to market this property as well as an adjacent property. Mr.

Pappas’ intention is that the net proceeds of the sale be applied to payment of the

judgment in this matter. In addition, recent progress has been made towards completing

the disbursement of substantial funds to the plaintiff in partial satisfaction of the

                                               2
    Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 3 of 19



judgment. Per the document attached as Exhibit 2, disbursement is now authorized by

the relevant court and is expected to occur in early fall of 2016. During this time, counsel

for the parties have communicated concerning the property sale and the possible

resolution of this matter.

       As outlined in the affidavits submitted under seal as Exhibits 3 and 4, and

submitted pursuant to the Court’s Order of January 19, 2016, Mr. Pappas has very limited

assets. He has placed his only substantial assets, the properties in Putnam, CT, on the

market in order to pay the judgment owed in this case. He has recently mailed to counsel

for the plaintiff the very limited rental income obtained in the last month from the

Normandies Park trailer park. See Exhibit 5, filed under Seal. Since appearance of

present counsel, service of document in this matter has been facilitated by counsel. Mr.

Pappas indicates that he may accept service of process at                              ,

Golden Valley, Arizona, 86413.

       Through these and prior disclosures, Mr. Pappas has now substantially complied

with paragraphs 2 through 4 of the January 19, 2016, Order, eliminating the need for

coercive civil contempt measures with respect to these portions of the order. The one

remaining requirement of the order is that Mr. Pappas tender to Plaintiff the sum of

$47,844.28. As the attached affidavits indicate, Mr. Pappas is simply not able to comply

with that order. Although as Exhibit 1 indicates Mr. Pappas is making a good faith effort

to liquidate his real property in order to satisfy the judgment in this case, he does not have

liquid assets anywhere near the amount specified in the order.1 As the Supreme Court



1It is also worth noting that a substantial portion of the $47,844.28—a figure
reflecting the proceeds of a sale of property by Mr. Pappas on December 7, 2011—
appears to have been used to satisfy Mr. Pappas’ tax liabilities with respect to the
                                              3
    Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 4 of 19



determined in Maggio, civil contempt sanctions are not appropriate where the party is

unable to purge the contempt by performing the required action.

                                      CONCLUSION

        For the reasons above, Defendant respectfully submits that the Court should not

hold Mr. Pappas in contempt at this time.

                                                Respectfully submitted,

                                                THE DEFENDANT,
                                                Charles Pappas

                                                OFFICE OF THE FEDERAL DEFENDER

Dated: May 24, 2016                             /s/ James P. Maguire
                                                James P. Maguire
                                                Assistant Federal Defender
                                                265 Church Street, Suite 702
                                                New Haven, CT 06510
                                                Phone: (203) 498-4200
                                                Bar No.: ct29355
                                                Email: James_Maguire@fd.org


                               CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on May 24, 2016, a copy of the foregoing was
filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                /s/ James P. Maguire
                                                James P. Maguire



Normandies Park property. The documents attached as Exhibit 6 reflect the
payment of $34,716.49 in delinquent taxes by Normandies Park on January 30,
2012. Insofar as the sale proceeds were effectively re-invested in Normandies Park,
the total value of Mr. Pappas’ assets were not dissipated.




                                               4
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 5 of 19




                      EXHIBIT
                              1
                  Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 6 of 19

                                  ~
    R~rte · ·
Outstanding Agents.
  Outstanding Results.
                    sm




     April 16, 2016                            RE: 282,284,286 Putnam Pike Dayville, CT. 06241




     Dear Mr. Pappas:



     I have had several conversations with the town of Killingly planning and zoning office and after
     completing a comparative market analysis I have listed the properties for a total price of $150,000.

     The following is the breakdown of how we have it marketed.

     286 Putnam Pike contains 6.8 acres and has a single family home and 6 mobile homes, valued at
     $150,000.

     Parcels 284 and 282 are combined and are technically one parcel of land and contains one single family
     home and a vacant lot. These two properties at this point cannot be separated. I placed a value of
     $75,000.

     The town of Killingly has an ordinance in effect which is called "structure to have access rule". It states
     that there can be only two properties on one private road. The property must have a minimum of 5.8 to
     have a trailer park and needs a special ordinance to be compliant. There forThe entire property is not
     compliant at this point. Further the road has to be brought up to today's standard meaning paving and
     drainage etc. The road is over 900 feet plus the turn around and at a minimal price of $100. per foot to
     asphalt the price is over $150,000. This is a very difficult property to market as there are so many issues
     that need to be addressed. There are also $50-60,000 in back taxes and sewer liens. Whoever purchases
     this property has many legal and upgrade issues to make it a viable income property. We will do our
     best to vigorously market and sell your properties.



     Sincerely yours,



     Michael Meehan




  R~ll( Bell Park Realty                                                            R~rl{ Bell Park Realty
  755 Norwich Road (Rt. 12)                                                         610 Hartford Pike (Rt. 101)
  Plainfield, Connecticut 06374
  Office: (860) 564-9700                                          @                 Dayville, Connecticut 06241
                                                                                    Office: (860) 774-7600
  Fax: (860) 564-0600                                              EOUAL HOUSING
                                                                    OPPORTUNITY     Fax: (860) 779-3244
  Each Office Independently Owned & Operated                                        Each Office Independently Owned & Operated
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 7 of 19




                      EXHIBIT
                              2
       Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 8 of 19
  Case 12-21924        Doc 108    Filed 04/27/16 Entered 04/27/16 10:40:49       Desc Main
                                   Document     Page 1 of 1




                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT

  In re:                                                Case No. 12-21924 (AMN)
  Robin Delaney                                         Chapter 7


             Debtor                                     Re: ECF No. 107


      Order Granting Trustee's Motion for Authority to Disburse Debtor's Exemptions

           Upon consideration of Thomas C. Boscarino (the "Trustee") Motion for Authority to

Disburse Debtor's Exemptions (the "Motion"), ECF No. 107, and after proper notice and a

hearing, see 11 U.S.C. § 102(1 ), and in accordance with the Court's Contested Matter

Procedure, and there being no objections, it is hereby:

           ORDERED, that the Trustee is authorized and directed to disburse to Robin

Delaney (the "Debtor") the sum of $9, 123.98, which represents the Debtor's fully entitled

claims of exemption in proceeds from the settlement of a legal malpractice claim entitled

Charles Pappas. Robin Delaney, et. al. v. Thomas T. Lonardo, et. al., Case No.

WWM-CV-XX-XXXXXXX-S; and it is further

       ORDERED, that such distribution to the Debtor shall be made at the same time as

final distribution is made to creditors in this case.



                              Dated at Hartford, Connecticut on April 27, 2016
       Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 9 of 19
 Case 12-22099    Doc 131 Filed 04/26/16 Entered 04/26/16 15:32:05 Desc Main
                            Document     Page 1 of 1




                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT


 IN RE:                                                CASE NO. 12-22099(AMN)

 CHARLES PAPPAS                                        CHAPTER 7



             DEBTOR                                    RE ECF NO.: 130

     ORDER GRANTING TRUSTEE'S MOTION FOR AUTHORITY TO DISBURSE
                       DEBTOR'S EXEMPTIONS

       The Trustee's Motion For Authority to Disburse Debtor's Exemptions dated March

30, 2016 (the "Motion"), having been presented to this Court, and after proper notice and

a hearing,   see 11 U.S.C . § 102(1 )(A), and in accordance with the Court's Contested
Matter Procedure, and there being no objections, it is hereby:

       ORDERED, that Thomas C. Boscarino, Chapter 7 Trustee, is authorized and

directed to disburse to the Debtor, Charles Pappas, the sum of $1,766.53, wh ich

represents the Debtor's full entitled claims of exemption in the Property as that term is

defined in the Motion, such distribution to be made at the same time as final distribution is

made to creditors in this case.

                                    Dated at Hartford , Connecticut on April 26, 2016
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 10 of 19




                      EXHIBIT
                              3
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 11 of 19




EXHIBIT FILED UNDER SEAL
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 12 of 19




                      EXHIBIT
                              4
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 13 of 19




EXHIBIT FILED UNDER SEAL
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 14 of 19




                      EXHIBIT
                              5
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 15 of 19




EXHIBIT FILED UNDER SEAL
Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 16 of 19




                      EXHIBIT
                              6
           Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 17 of 19




                   CERTIFICATE OF SATISFACTION
                          Connecticut General Statutes§ 12-157(t)

        The .tax collector of the following municipality certifies that the property auction upon the
real estate identified below, which had been slated for public auction to satisfy delinquent taxes
owed by its record owner(s), has been CANCELLED by reason of payment in full of the taxes,
interest, and collection costs including reasonable attorney's fees which were then due and owing:

LEVYING MUNICIPALITY:                   Town of Killingly, Connecticut

DELINQUENT TAXPAYER:                    Normandies Park, LLC
       '                                22 Center Street
                                        Danielson, CT 06239

ADDRESS OF REAL ESTATE:                 286 Putnam Pike, Dayville, Connecticut (mobile home park)

AUCTION WAS TO OCCUR:                   10:00 a.m. on February 2, 2012

LEVY NOTICE RECORDED:                   November 18, 2011 at Volume 1224 Page 398
                                        of these land records

DELINQUENCY PAID:                       $34,716.49 on January 30, 2012 by Normandies Park, LLC

        By reason thereof, the auction is hereby CANCELLED and the Notice of Levy and Sale of
Real Estate recorded as stated above is hereby RELEASED. If and to the extent that the
delinquency is stated above as having been paid by a mortgagee, lienholder or other record
encumbrancer, he or she shall have all rights against the person whose primary duty it was to pay
the taxes for the amount so paid, and may add the same to any claim for which he or she has
security upon the property. The interests of other persons in the property are not affected.

Dated this 30th day of January, 2012.




STATE OF CONNECTICUT                    )
                                        )
   '
COUNTY OF FAIRFIELD                     )



                                                                                 ALISON A. CARTER
ACTIVE/69668.1/AJC/2678470vl                                                       NOTMY PUM,/C
                                                                               t.W COMMISSION EXP'lltES 31'J11f!t3
     Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 18 of 19




••                                                   .   .
                                                                 ,,.;<
                                                             .•• •       "        :·   )
                                                             •    y          ~-        ~            ~   ·~   •


                                                                                           "' .,·




                        \
                            \\
        Case 3:10-cv-01128-WWE Document 264 Filed 05/24/16 Page 19 of 19



                                                                        ADAM J. COHEN
                                                                        Pulbnan & Comley, LLC
PULLMAN                                                                 850 Main Street
                                                                        P.O. Box 7006
                                                                        Bridgeport, CT 06601-7006
                                                                        p 203 330 2230
      AT TORN EYS                                                       f 203 576 8888
                                                                        ajcohen@pullcom.com

To:   Charles Pappas
Date: January 17, 2012


                PAYOFF STATEMENT VALID THROUGH
                   12:00 P.M. ON JANUARY 31, 2012
Record Owner:         Normandies Park, LLC
Property:             286 Putnam Pike, Dayville, Connecticut
Municipality:         Town of Killingly, Connecticut
Auction Date:         February 2, 2012

real estate principal taxes                2006-2010 Grand Lists           $    18,216.42
real estate jeopardy acceleration          estimated 2011 Grand List       $     4,624.72
real estate interest accrued               through payoff date above       $     5,291.67
real estate lien and release fees          2006-2009 Grand Lists           $        96.00
sewer assessment principal charges         through payoff date above       $       645.00
sewer assessment delinquency interest      through payoff date above       $        77.40
sewer usage principal charges              2011 billing cycle              $     1,930.32
sewer usage interest accrued               through payoff date above       $        86.86
title search, notices, auction expenses    through payoff date above       $       553.10
attorney's fees                            9.0 h (a). $355 each            $     3,195.00

       TOTAL DUE IF RECEIVED BY DATE ABOVE:                                $ 34,716.49

Note that no "per diem" figure is available because interest accrues monthly while fees and
expenses accrue as they are incurred. Updated payoff statements are available upon request.


Payoff checklist:
(1) payment is cash, money order, certified check, bank!servicer check, or attorney trustee check
(2) payable to "Pullman & Comley, Trustee" (not to the municipality itself)
(3) sent to Adam J. Cohen, Esq., Pullman & Comley, 850 Main St., Bridgeport CT 06601


       SEE ATTACHED NOTICE FOR IMPORTANT PAYOFF INFORMATION
